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UNITED STATES DISTRICT CouRP STR’ TOF
FOR THE DISTRICT OF MARYLANDyg}g OCT -2 AM 8: 50

MAYOR AND CITY COUNCIL OF | CERI SORE:
BALTIMORE, a
BY a DEPUTY
Plaintiff,
Vv, Case No.: 1:18-cv-02357-ELH
BP P.L.C.,, et al,
Defendants.

 

-{PROPOSED] ORDER ctf

Upon consideration of Defendants’ Motion to Temporarily Extend Stay of Remand Order

 

Pending Resolution of Stay Application to the Supreme Court, and any opposition thereto, it is
hereby

ORDERED, that Defendants’ Motion to Temporarily Extend Stay of Remand Order
Pending Resolution of Stay Application to the Supreme Court is GRANTED;

ORDERED, that the Remand Order (ECF No. 173) is further STAYED through the
Supreme Court’s resolution of Defendants’ Application to Stay the Remand Order; and it is
further

ORDERED, that the Clerk of the Court is directed to REFRAIN from mailing to the

Clerk of the Circuit Court for Baltimore City the Remand Order until further Order of this Court. £6

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SO ORDERED. rou ded. however Ko /of 1,
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Ejlen L, Hollander | / /
United States District Judge fO}s 7

 
